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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 MARCOS ROMERO, ALBERT SALA,
 JAMES KNAPP, STEPHEN PRATT,
 LARRY BRYAN, JAMES HARTWELL,
 JOHN RITTER, JACK MURPHY and
 THOMAS CONNORS,

                       Plaintiffs,

 v.                                                           Case No: 6:09-cv-1401-Orl-36TBS

 FLORIDA POWER AND LIGHT CO.,

                   Defendant.
 ___________________________________/

                                             ORDER

        This cause comes before the Court upon consideration of Plaintiffs MARCOS ROMERO,

 ALBERT SALA, JAMES KNAPP, STEPHEN PRATT, LARRY BRYAN, JAMES

 HARTWELL, JOHN RITTER, JACK MURPHY, and THOMAS CONNORS (“Named

 Plaintiffs”) and the Opt-In Plaintiffs’ (collectively, “Plaintiffs”) Amended Motion to Approve

 Settlement (“Motion to Approve Settlement”) (Doc. 263). Pursuant to the Fair Labor Standards

 Act, 29 U.S.C. §§ 201 et seq. (“FLSA”), Plaintiffs request that the Court approve their settlement

 with Defendant Florida Power and Light Company (“Defendant” or “FPL”) and dismiss the case

 with prejudice. Id. at pp. 1, 18. Defendant filed a Response to Motion to Approve Settlement

 (“Response”) (Doc. 266). With leave of Court, Plaintiffs filed a Reply in support of their motion

 (Doc. 274). Upon consideration of the parties’ submissions, relevant case law, and for the

 reasons that follow, the Court will grant Plaintiffs’ Motion to Approve Settlement.
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           I.    BACKGROUND

         Plaintiffs bring this action under the FLSA, alleging that their employer, FPL, failed to

 pay overtime wages for work over 40 hours per week.1                  Complaint, Doc. 1, ¶¶ 13-21.

 Specifically, Plaintiffs seek overtime compensation for work performed during the meal period.

 Id. at ¶¶ 17-18; Doc. 166. On October 14, 2010, the Court granted Plaintiffs’ Motion to

 Authorize Notice to Potential Class Members and conditionally certified a class as a collective

 action.2 Doc. 159, p. 2. On February 22, 2012, the Court denied Defendant’s Motion for

 Decertification (Doc. 196), finding that Named Plaintiffs, Opt-in Plaintiffs, and members of the

 conditionally certified class were similarly situated for the purposes of an FLSA collective action

 (Doc. 212).

         On June 1, 2012, the Court granted Plaintiffs’ Corrected Renewed Motion for

 Representative Testimony at Trial on the Issue of Liability (Doc. 225) and Corrected Renewed

 Motion for Bifurcation of Trial on the Issues of Liability and Damages (Doc. 224). See Doc.

 232. The parties engaged in discovery for over two years. Also, in preparation for trial, they

 engaged in substantive motion practice, including filing a Pretrial Statement, Witness and

 Exhibit lists and objections thereto, proposed jury instructions and proposed questions for voir

 dire, deposition designations and objections thereto, and motions in limine. See Docs. 234, 236,

 240, 245, 252, 253. On July 9, 2012, the parties filed their Trial Briefs. Docs. 246, 248. On



 1
   Pursuant to 29 U.S.C. §207(a), the FLSA requires compensation at one and a half times the
 regular rate when employers cause their employees to work more than forty hours a week.
 2
   The certified class included: “[a]ll hourly paid, first shift senior line specialists, line specialists,
 cable splicers, and groundsmen, who worked an eight and half hour shift, for Florida Power &
 Light Company (FPL), in FPL’s Distribution Business Unit since July 21, 2007 who were
 required to monitor and/or respond to their portable or truck radios during the meal period and/or
 were restricted during their meal period from the free use of the meal period, and yet were not
 compensated for all of their overtime hours worked due to the deduction of thirty (30) minutes
 from their pay for such time.”
                                                     2
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 July 30, 2012, a week before trial was set to begin, Plaintiffs filed a Notice of Settlement. Doc.

 255.

          II.   APPLICABLE LAW

         In Lynn’s Food Stores, Inc. v. United States Department of Labor, 679 F.2d 1350, 1353

 (11th Cir. 1982), the Eleventh Circuit explained that judicial review and approval of an FLSA

 settlement is necessary to give it final and binding effect. As the Eleventh Circuit held:

         [t]here are only two ways in which back wage claims arising under the FLSA can
         be settled or compromised by employees. First, under section 216(c), the Secretary
         of Labor is authorized to supervise payment to employees of unpaid wages owed to
         them. . . . The only other route for compromise of FLSA claims is provided in the
         context of suits brought directly by employees against their employer under section
         216(b) to recover back wages for FLSA violations. When employees bring a
         private action for back wages under the FLSA, and present to the district court a
         proposed settlement, the district court may enter a stipulated judgment after
         scrutinizing the settlement for fairness.

 Id. at 1352-53. Before approving an FLSA settlement, the court must scrutinize it to determine if

 it is “a fair and reasonable resolution of a bona fide dispute.” Id. at 1354-55. If the settlement

 reflects a reasonable compromise over issues that are actually in dispute, the Court may approve

 the settlement “in order to promote the policy of encouraging settlement of litigation.” Id at

 1354.

         In determining whether the settlement is fair and reasonable, the Court should consider

 the following factors:

                (1) the existence of collusion behind the settlement;
                (2) the complexity, expense, and likely duration of the litigation;
                (3) the stage of the proceedings and the amount of discovery
                completed;
                (4) the probability of plaintiff’s success on the merits;
                (5) the range of possible recovery; and
                (6) the opinions of counsel.




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 Leverso v. South Trust Bank of Ala. Nat. Assoc., 18 F. 3d 1527, 1531 n. 6 (11th Cir. 1994);

 Hamilton v. Frito-Lay, Inc., 2007 WL 328782, *2-3 (M.D. Fla. 2007). The Court should be

 mindful of the strong presumption in favor of finding a settlement fair. Cotton v. Hinton, 559 F.

 2d 1326, 1331 (5th Cir. 1977).3

        In order for the Court to determine whether the proposed settlement is reasonable,

 counsel for the claimants must first disclose the extent to which the FLSA claim has or will be

 compromised by the deduction of attorneys’ fees, costs or expenses. Zegers v. Countrywide

 Mortg. Ventures, LLC, 569 F.Supp. 2d 1259 (M.D.Fla. 2008). When a plaintiff receives less

 than a full recovery, any payment (whether or not agreed to by a defendant) above a reasonable

 fee improperly detracts from the plaintiff’s recovery.4    Thus, a potential conflict can arise

 between counsel and their client regarding how much of the plaintiff’s total recovery should be

 allocated to attorneys’ fees and costs. It is the Court’s responsibility to ensure that any such

 allocation is reasonable. See Silva v. Miller, 307 F. App’x. 349, 351-52 (11th Cir. 2009). In

 doing so, the Court uses the lodestar method for guidance. See Comstock v. Florida Metal

 Recycling, LLC, 2009 WL 1586604 at *2 (S.D. Fla. 2009). As the Court interprets the Lynn’s

 Foods and Silva cases, where there is a compromise of the amount due to the plaintiff, the Court

 should decide the reasonableness of the attorneys’ fees provision under the parties’ settlement

 agreement using the lodestar method as a guide. In such a case, any compensation for attorneys’

 fees beyond that justified by the lodestar method is unreasonable unless exceptional

 circumstances would justify such an award.



 3
   Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (all decisions from the Fifth
 Circuit prior to October 1, 1981 are binding on the Eleventh Circuit).
 4
   From a purely economic standpoint, a defendant is largely indifferent as to how its settlement
 proceeds are divided between a plaintiff and his/her counsel. Where a plaintiff is receiving less
 than full compensation, payment of fees necessarily reduces the plaintiff’s potential recovery.
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         III.     ANALYSIS

        This case involves a disputed issue of FLSA coverage, which constitutes a bona fide

 dispute.     Lynn's Food Stores, 679 F.2d at 1354.       Specifically, the parties dispute whether

 listening, monitoring, and responding to their radio means that Plaintiffs were not completely

 relieved of duty and entitled to compensation. Doc. 263, p. 13. Defendant believes that had this

 case been litigated, it would have prevailed in proving that Plaintiffs do not have “significant

 affirmative duties” during their 30-minute meal break and are therefore not entitled to

 compensation. Doc. 266, p. 1. Also, Defendant argues that it made “premium payments” to

 Plaintiffs in excess of any amount claimed as unpaid overtime. Id.

         In their proposed settlement, the parties agree to settle Plaintiffs’ collective action claims

 in exchange for a release of all claims for a total sum of $ 700,000.00 (“Settlement Amount”),

 inclusive of all payments to Plaintiffs, and attorney’s fees and costs. See Settlement, Doc. 263-

 Ex. 1. Each Plaintiff is to receive an equitable share of the “Distribution Amount”, which is

 defined as the Settlement Amount, subtracting $25,000 in costs, $295,000 in attorney’s fees, and

 $45,000 in service payments to the nine Named Plaintiffs (“Service Payments”). Id.; Doc. 263,

 p. 10 n.6.

         A. Parties’ Agreed Terms

         The parties agree to the proposed settlement in every respect other than the proposed

 allocation of $40,000 to the Named Plaintiffs as Service Payments. See Doc. 263; Doc. 266, p.

 2.   Upon reviewing the factors courts consider when evaluating the fairness of an FLSA

 settlement, the Court is satisfied that there is no evidence of collusion behind this settlement, as

 all parties were represented by counsel who are obligated to vigorously represent their client’s

 interest. See Leverso, 18 F.3d at 1531; Id. at 10, n.5. Second, the Court agrees with the parties



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 that the significant pretrial discovery, extent of motion practice, and duration of complicated trial

 preparation in this action justify the proposed compromise of Plaintiffs’ claims. Id. at 11-13.

 Moreover, in light of the credits and set-offs claimed by FPL which would reduce the overtime

 compensation owed to the class members, the Plaintiffs’ compromise is reasonable.5 29 U.S.C. §

 207(h); see Kohlheim v. Glynn County, 915 F.2d 1473, 1477 (11th Cir. 1990). With respect to

 the third factor, it is undisputed that the parties settled at a very late stage of the proceedings,

 after extensive discovery and motion practice. Doc. 263, pp. 2-7; see Leverso, 18 F. 3d at 1531.

        With respect to the likelihood of success on the merits factor, Plaintiffs contend that

 because there is no binding Eleventh Circuit precedent on the issue of whether listening,

 monitoring, and responding to radio meant Plaintiffs weren’t relieved of their duty during meal

 breaks, they had about a fifty percent chance of prevailing on the merits should this action have

 proceeded to trial. Id. at 13. FPL further argues that radio monitoring during meal breaks did

 not rise to the “significant affirmative responsibilities” necessary in the Eleventh Circuit to

 prevail on FLSA claims. Kohlheim, 915 F.2d at 1477; Birdwell v. City of Gadsden, Ala., 970

 F.2d 802, 807 (11th Cir. 1992) (question of whether time is compensable will depend on whether

 time is “spent predominately for the employer’s benefit or for the employee’s.”). Accordingly,

 FPL maintains that Plaintiffs’ likelihood of prevailing on the merits was very small. Doc. 266, p.

 5.




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   Plaintiffs explain that pursuant to the Collective Bargaining Agreement, FPL regularly paid
 Plaintiffs double time, including when they worked in excess of 16 hours in a day or worked on a
 scheduled day off. Additionally, on days where a Plaintiff worked more than 12 hours in a day,
 FPL paid a $13.00 meal credit, for which FPL claimed a set-off from any compensation owed.
 These credits/set-offs allegedly resulted in some employees having a negative balance owed.
 Doc. 263, p. 11, n.8.
                                                  6
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        In light of the foregoing, particularly the range of Plaintiffs’ potential recovery and risks

 and costs of continued litigation, the Court finds that the proposed compromise of Plaintiffs’

 claims is fair and reasonable. Leverso, 18 F.3d at 1531.

        B. Attorneys’ Fees

        In order for the Court to determine whether the proposed settlement is reasonable,

 Plaintiffs’ counsel must first disclose the extent to which the FLSA claim will be compromised

 by the deduction of attorneys’ fees, costs or expenses pursuant to a contract between the plaintiff

 and his or her counsel. Zegers, 569 F.Supp.2d at 1259. In Bonetti v. Embarq Management Co.,

 2009 WL 2371407 (M.D. Fla. 2009), the Court held that if the matter of attorneys’ fees and costs

 is “addressed independently and seriatim” the Court may approve a settlement agreement

 without “separately considering the reasonableness of the fee paid to plaintiff’s counsel.”

 Bonetti, 2009 WL 2371407 at * 5.

        Here, pursuant to the Settlement, Plaintiffs’ counsel will receive $295,000 in attorneys’

 fees. Doc. 263, p. 16. Plaintiffs explain that this amount is substantially less than the lodestar

 amount, and that counsel is accepting 58% of the attorneys’ fees actually incurred. Id (citing

 Rutland v. Visiting Nurse Ass’n of Cent. Florida, Inc., 2008 WL 3833254, *2 (M.D. Fla. 2008)

 (finding that because the attorney’s fee was far less than counsel would have earned should it

 have applied the lodestar method, the fee was reasonable)). Defendant represents that it takes no

 position with respect to the proposed allocation of attorneys’ fees. Doc. 266, p. 6. In accordance

 with the Court’s September 19, 2012 Order (Doc. 264), Plaintiffs submitted detailed affidavits

 and time sheets supporting the portion of the Settlement allocated towards attorneys’ fees. See




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 Doc. 268-Exs. 1-2.6 Accordingly, the Court finds that the allocation of Settlement proceeds

 between Plaintiffs and their counsel is reasonable.

        C. Service Payments to Named Plaintiffs

        Although Defendant requests that the Court approve the parties’ Settlement (Doc. 263-

 Ex. 1), it urges the Court not to approve the proposed Service Payments.7 Doc. 266, pp. 2-8.

 First, Defendant argues that the requested $45,000 in Service Payments constitutes a prohibited

 conflict of interest between the Opt-in Plaintiffs who authorized the nine Named Plaintiffs to

 negotiate on their behalf Id. at 2 (citing Grassick v. Avatar Properties, Inc., 2008 WL 5099942,

 *3 (M.D. Fla. 2008)). Although conceding that “some courts have approved payments to class

 representatives to compensate them for costs they incurred during the litigation”, Defendant

 argues that the Named Plaintiffs fail to demonstrate they personally incurred any costs at all. Id.

 at 8; Grassick, 2008 WL 5099941 at *3. Further, Defendant argues that Plaintiffs’ claim that the

 Named Plaintiffs faced “tangible risk” by suing their employer is unsupported. Id. at 8, n.8.

 Third, Defendant argues that the Plaintiffs have not shown that the efforts of the nine Named

 Plaintiffs “rise to the level of special circumstances warranting an incentive award.” Id. at 3

 (citing Ayers v. SGS Control Services, Inc., 2008 WL 4185813, *5 (S.D. N.Y. 2008)). Finally,

 Defendant argues that because of the differences between Federal Rule of Civil Procedure 23

 governing class actions, which require each class member to receive notice of extra payments to




 6
   Plaintiffs submit the Affidavits of Gregg I. Shavitz, Maurice Arcadier, and Carlos Leach. Doc.
 268-Exs. 1-3. Leach, an experienced FLSA litigator, affirms that the hourly rates and time
 charged by attorneys Shavitz and Arcadier are reasonable in light of the subject matter and
 complexity of this particular action, and the attorneys’ particular expertise. Doc. 268-Ex. 3, ¶¶
 4-13.
 7
   Defendant concedes that should the Court deny the Service Payments pursuant to its request, it
 would receive no financial benefit because the total Settlement Amount agreed to by the parties
 is $700,000. Doc. 266, p. 3 n.4; see Doc. 263-Ex. 1.
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 class representatives, and FLSA collective actions, which do not afford opt-in plaintiffs such

 protection, the cases upon which Plaintiffs rely are misplaced. Id. at 8-9.

           Plaintiffs maintain that courts in the Middle District of Florida routinely support

 awarding service payments in FLSA cases. Doc. 274, pp. 1-3; Hosier v. Mattress Firm, Inc.,

 2012 WL 2813960, *5 (M.D. Fla. 2012) (approving service payments to named plaintiff “[g]iven

 the amount of time and effort put forth by the named Plaintiff and original opt-in Plaintiffs and

 the inherent risk taken”); Heath v. Hard Rock International (STP) Inc., 2011 WL 5877506 (M.D.

 Fla. 2011). In Heath, the Court explained that while there is no provision for a “representative

 plaintiff” under the FLSA, and generally no incentive payment to a named plaintiff is warranted,

 courts award incentive fees to named plaintiffs in FLSA cases who establish that they faced

 substantial risks by participating in the lawsuit and incurred actual expenses during the litigation.

 Heath, 2011 WL 5877506 at *6. For example, in Su v. Electronic Arts, Inc., 2006 WL 4792780,

 *5 (M.D. Fla. 2006), the named plaintiff had to use four vacation days to attend hearings for the

 case, and he testified that he feared his career would be adversely affected as the result of suing

 his former employer.     The court found this evidence was sufficient to support a $10,000

 incentive fee recommended by all parties to the litigation. Su, 2006 WL 4792780 at *5.

        In their Reply, Plaintiffs provide evidence of the time, effort, and risk taken by each of

 the Named Plaintiffs, including: (1) assisting in the case investigation; (2) assisting counsel with

 declarations; (3) responding to individual discovery including answering interrogatories; (4)

 preparing for, traveling to, and attending depositions; (5) regularly meeting with counsel and

 communicating with other plaintiffs about the case; (6) participating in the review of

 Defendant’s discovery and assisting in the preparation for depositions of Defendant’s




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  representatives; and (7) advising regarding the calculation of damages models. 8 Doc. 274, pp. 3-

  6.9 Also, seven of the nine Named Plaintiffs are current employees of Defendant and thus face a

  risk of retaliation for their leadership in the case. Id. at 4; Hosier, 2012 WL 2813960 at *5.10

         Further, Plaintiffs argue that Defendant’s reliance on Grassick, 2008 WL 5099942 is

  misplaced. Doc. 274, p. 5. While the Grassick court recognized that service payments are

  permitted for named plaintiffs in FLSA cases, it denied such an award in that particular case

  because the record did not support costs and risks incurred by the named plaintiff. Grassick,

  2008 WL 5099942 at *7. In contrast, here Plaintiffs have provided significant evidence of the

  time, efforts, and risks supporting the award of service payments. Doc. 274-Exs. 1-2; see

  Hosier, 2012 WL 2813960 at *5; Heath, 2011 WL 5877506 at *6; Su, 2006 WL 4792780 at *5.

  Accordingly, the Court finds that the Service Payments to the Named Plaintiffs are warranted.

  Also, Defendant’s claim that the Service Payments will cause a conflict between the Named

  Plaintiffs and Opt-In Plaintiffs is unsupported. It is also possible that the Opt-In Plaintiffs are

  grateful that the personal involvement and extra efforts of the Named Plaintiffs helped achieve

  their collective Settlement. See Doc. 274, p. 5.

         In conclusion, the Court finds that given the risks of continued litigation for both parties,

  the significant investment of time, effort and money into three years of discovery and motion

  8
    Defendant argues that because Named Plaintiff Romero was not deposed in this case, and did
  not attend the second mediation in June 2012, he presents an example of a Named Plaintiff who
  did not make substantial sacrifices justifying a Service Payment. Doc. 266, p. 8. In their Reply,
  Plaintiffs explain that Romero attended at least five meetings with counsel and attended the
  depositions of Plaintiffs Murphy and Connors. See Doc. 274, p. 3 n.4; Doc. 274-Ex. 2. Also, as
  Plaintiffs note, Defendant determined which Plaintiffs they chose to depose. Id.
  9
     Plaintiffs submit evidence documenting specific discovery to which each Named Plaintiff
  responded, as well as specific examples of efforts undertaken by each Named Plaintiff. See Doc.
  274-Exs. 1-2.
  10
      Additionally, Courts recognize that Named Plaintiffs who no longer work for defendant
  employer also face risks that future employment will be adversely affected by their prominent
  role suing their former employer. Doc. 274, p. 4; see Su, 2006 WL 4792780 at *5.
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  practice, the proposed Settlement is fair and reasonable. See Lynn's Food Stores, 679 F.2d at

  1354.

     Accordingly, it is hereby ORDERED and ADJUDGED:

     1. Plaintiffs’ Amended Motion to Approve Settlement, filed on September 14, 2012 (Doc.

          263) is GRANTED. The Settlement (Doc. 263-Ex. 1) is APPROVED, as it constitutes

          a fair and reasonable resolution of a bona fide dispute.

     2. This action is DISMISSED, with prejudice.

     3. The Clerk is directed to terminate any pending motions and deadlines and close this case.

          DONE and ORDERED in Orlando, Florida on December 10, 2012.




  Copies furnished to:
  Counsel of Record




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